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    7 Attorneys for Plaintiff
      ENOUGH FOR EVERYONE, INC.
    8
    9                                        UNITED STATES DISTRICT COURT
   10                                       CENTRAL DISTRICT OF CALIFORNIA
   11
   12 ENOUGH FOR EVERYONE, INC.,                              Case No. SACV 11-01161-DOC(MLGx)
      a California corporation,
   13                                                         JUDGMENT ON PLAINTIFF'S
                   Plaintiff,                                 CLAIM FOR AN ACCOUNTING
   14
      vs.                                                     JUDGE: Hon. David O. Carter
   15                                                         CRTRM.: 9D
      PROVO CRAFT & NOVELTY, INC.,
   16 a Utah corporation; and SORENSON
      CAPITAL PARTNERS, L.P., a
   17 Delaware limited partnership,
   18                        Defendants.
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                                      JUDGMENT ON PLAINTIFF'S CLAIM FOR AN ACCOUNTING
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                                                                   1             Pursuant to this Court’s Order (Dkt. 159) of October 16, 2012,
                                                                   2             IT IS ORDERED, ADJUDGED AND DECREED that Plaintiff Enough For
                                                                   3 Everyone, Inc., shall have and recover from Defendant Provo Craft & Novelty, Inc.,
                                                                   4 the sum of $1,780,879 plus pre-judgment interest on said sum from the period
                                                                   5 June 30, 2012, to the date of entry of this Judgment in the amount of $27,664.20, for
                                                                   6 a total Judgment of $1,808,543.20.
                                                                   7
                                                                   8 DATED: December 5, 2012
                                                                                                                         HONORABLE DAVID O. CARTER
                                                                   9
                                                                  10
                                                                  11
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                               A Professional Corporation

                                 Irvine, California 92612




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                                                                                                     JUDGMENT ON PLAINTIFF'S CLAIM FOR AN ACCOUNTING
